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               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

LAWRENCE HAMPTON, #197002,                 )
                                           )
         Plaintiff,                        )
                                           )
v.                                         )     CIVIL ACTION NO. 2:16-cv-973-ECM
                                           )                 (WO)
CAPTAIN BALDWIN, et al.,                   )
                                           )
         Defendants.                       )

                                OPINION and ORDER

       On June 17, 2019, the Magistrate Judge entered a Recommendation (doc. 149)

 to which no timely objections have been filed. After an independent review of the file

 and upon consideration of the Recommendation, it is

       ORDERED as follows:

          1. that the Recommendation of the Magistrate Judge is ADOPTED;

          2. the correctional defendants’ motion for summary judgment with respect to

             the Plaintiff’s claims seeking monetary damages from them in their official

             capacities is GRANTED and these claims are DISMISSED with prejudice

             as Warden Ellington, Captain Baldwin, and Officer Sanders are entitled to

             absolute immunity from such damages;

          3. the motion for summary judgment filed on behalf of the correctional

             defendants in their individual capacities as to the Plaintiff’s excessive force
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      claim against Officer Sanders and his failure to protect claim against

      Captain Baldwin is DENIED;

   4. Warden Ellington’s motion for summary judgment is GRANTED;

   5. Nurse Sagers-Copeland’s motion for summary judgment is GRANTED;

   6. This case is REFERRED BACK to the Magistrate Judge for an evidentiary

      hearing on the Plaintiff’s surviving claims of excessive force against

      Officer Sanders and failure to protect against Captain Baldwin for

      monetary damages in their individual capacities.

Done this 15th day of July, 2019.


                                  /s/ Emily C. Marks
                           EMILY C. MARKS
                           CHIEF UNITED STATES DISTRICT JUDGE




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